
662 S.E.2d 903 (2008)
DURHAM HOUSING AUTHORITY
v.
A. Larry PARTEE.
No. 183P08.
Supreme Court of North Carolina.
June 11, 2008.
Daniel F. Read, Durham, for Partee.
*904 Adam Shestak, John Roseboro, for Housing Authority.
Prior report: ___ N.C.App. ___, 658 S.E.2d 69.

ORDER
Upon consideration of the petition filed on the 22nd day of April 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
Upon consideration of the petition filed by Defendant on the 24th day of April 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
